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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


CYCLONE RANCH, LLC and CROSS MOUNTAIN                     )   Case No. 1:16-cv-2735-GPG
RANCH LIMITED PARTNERSHIP,                                )
                                                          )
               Plaintiffs,                                )
                                                          )   ORDER CONFIRMING
       v.                                                 )   DISCLAIMER OF INTEREST
                                                          )   AND DISMISSING CASE
UNITED STATES OF AMERICA and the                          )
UNITED STATES FOREST SERVICE,                             )
                                                          )
               Defendants.                                )
                                                          )

       The Court has considered the parties’ joint motion to confirm the Defendants’ disclaimer

and dismiss the case filed on July 9, 2018 (ECF No. 46). The motion is hereby GRANTED.

       IT IS HEREBY ORDERED that the Defendants’ disclaimer pursuant to 28 U.S.C. §

2409a(e) of all interest adverse to the right-of-way claimed by Plaintiffs is CONFIRMED.

Pursuant to the parties’ Stipulation for Compromise Settlement and Release of Claims (ECF No.

46-1), which is incorporated herein, a Court order confirming the United States’ disclaimer of

interest is the equivalent of an order quieting title to the claimed right-of-way and defining its

scope, and shall be recordable as an order confirming Plaintiffs’ title to the right-of-way and its

scope as set forth in the Stipulation.

       IT IS FURTHER ORDERED that this matter is DISMISSED WITH PREJUDICE, with

each party bearing its own costs and fees.

               Dated this July 11, 2018.
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                 Gordon P. Gallagher
                 United States Magistrate Judge
